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Case: 1:17-md-02804-DAP Doc #: 1960-43 Filed: 07/23/19 3 of 40. PageID #: 139093
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Case: 1:17-md-02804-DAP Doc #: 1960-43 Filed: 07/23/19 5 of 40. PageID #: 139095
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Case: 1:17-md-02804-DAP Doc #: 1960-43 Filed: 07/23/19 18 of 40. PageID #: 139108
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